      Case 2:19-cv-10635-ILRL-JVM Document 97 Filed 10/09/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


 BYRON TAYLOR, TERRAINE R.
 DENNIS, KENNETH HUNTER,
 KENDALL MATTHEWS, and LONNIE                      CASE NO. 2:19-cv-10635-ILRL-JVW
 TREAUDO, on Behalf of Himself and on
 Behalf of All Others Similarly Situated,          JUDGE IVAN L.R. LEMELLE

       Plaintiffs,                                 MAG. JANIS VAN MEERVEED

 V.

 HD AND ASSOCIATES, LLC, and JOHN
 DAVILLIER

       Defendants.


  MOTION FOR PARTIAL SUMMARY JUDGMENT REGARDING EMPLOYMENT
                           STATUS

       NOW INTO COURT, through undersigned counsel, comes Plaintiffs, Byron Taylor,

Teraine R. Dennis, Kenneth Hunter, Kendall Matthews, and Lonnie Treaudo, on behalf of

themselves and other persons similarly situated, who move this Honorable Court for a partial

summary judgment and upon suggesting to the Court that no genuine issue of material fact exists

as to the employee status of Plaintiffs and opt-in Plaintiffs under the Fair Labor Standards Act,

such that Plaintiffs are entitled to a partial summary judgment as a matter of law.

       WHEREFORE, plaintiffs, Byron Taylor, Teraine R. Dennis, Kenneth Hunter, Kendall

Matthews, and Lonnie Treaudo, on behalf of themselves and other persons similarly situated,

respectfully move this Court to enter a partial summary judgment, finding that as a matter of law

that Plaintiff and the opt-in Plaintiffs were employees under the Fair Labor Standards Act during

the time that they worked as technicians for defendant, HD and Associates, LLC, all for the reasons

set forth in the accompanying memorandum.
      Case 2:19-cv-10635-ILRL-JVM Document 97 Filed 10/09/20 Page 2 of 2




                                             Respectfully Submitted:

                                             /s/ Ryan P. Monsour
                                             __________________________________________
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                                CERTIFICATE OF SERVICE

       I certify that I have served a copy of the above and foregoing pleading using this Court’s

CM/ECF system to counsel of record participating in the CM/ECF system, or by email

transmission on this 9th day of October, 2020.

                                             /s/ Ryan P. Monsour
                                             __________________________________________
                                             RYAN P. MONSOUR
